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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

IN RE:
Julio Manuel Montoro, Case no. 24-17583-LMI
Chapter 7
Debtor(s). /

EXETER FINANCE LLC’S MOTION FOR RELIEF FROM STAY
(Hearing date requested after 341 Meeting set for 9/3/2024)

Exeter Finance LLC (hereinafter Exeter), pursuant to 11
U.S.C. 362(d) (1), moves for relief from the stay as follows:

1. On July 27, 2024, debtor(s) filed for Chapter 7 of the
Bankruptcy Code.

2. On October 5, 2022, debtor Julio Manuel Montoro and
non-debtor Ana Lourdes Quevedo Leon executed a _e contract
pertaining to the purchase of a 2020 NISSAN ALTIMA VIN:
IN4BL4BV8LC220253. A copy of the contract is attached as
Exhibit A. Exeter provided buyer with purchase money financing
secured by the vehicle.

3. Exeter noted its lien on the vehicle’s title. Proof
of title is attached as Exhibit B.

4, Movant is in possession of the vehicle. The vehicle
was repossessed on July 15, 2024, prior to the filing of the
bankruptcy case on July 27, 2024.

5. The payoff balance owed on this account is $21,367.68,
as of July 30, 2024, excluding attorney fees and costs. An
affidavit of indebtedness is attached as Exhibit C.

6. Counsel for Movant contacted the debtor’s attorney

prior to filing the motion.
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7. A proposed order is attached as Exhibit D.

WHEREFORE, Exeter requests an order under section 362 (d) (1)
modifying the stay so that Exeter may repossess or replevy the
vehicle, sell the vehicle, and apply the proceeds of the sale to
the debt owed to Exeter, and determining that Federal Rule of
Bankruptcy Procedure 4001(a) (3) is not applicable and Exeter may

immediately enforce and implement the stay relief order.

I HEREBY CERTIFY that I am admitted to the bar of the United
States District Court for the Southern District of Florida and I am in
compliance with the additional qualifications to practice in this
court set forth in Local Rule 2090-1(A).

I HEREBY CERTIFY that on August 15, 2024, copies of the
foregoing were transmitted via ECF to the Office of the US
Trustee, Drew M Dillworth, Trustee, and Jose A Blanco, Esq.,
attorney for debtor; and mailed to Julio Manuel Montoro, debtor,
9917 W Ockeechobee Rd., Apt 4212, Hialeah, Fl 33016 & Ana
Lourdes Quevedo Leon, non-debtor, 9917 W Ockeechobee Rd., Apt
4212, Hialeah, Fl 33016.

GERARD M. KOURI, JR., P.A.

Attorney for Exeter

5311 King Arthur Avenue, Davie, FL 33331
Tel: (954)862-1731, Fax (954) 862-1732

[of Gerard M. Houri, Jr.

GERARD M. KOURI, JR., ESQ.
FBN 375969/gmkouri@aol.com

By:

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Retail Installment Contract and Security Agreement.

Selter Hames and Address Buyerfa) Dame(s).end Addressica} Swamary
' The Connection Motors Inc. JULIO M MONTORO Na.
840:E.49th St ANA LURDES QUEVEDO LEON Beta 10/5/2022
Hialeah, FL 33013 9917 Okeechobee Rd #-4-212 ~
Hialeah Gardens, FL 33016
Buyars' Monthof Birth February September
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Contract Provisions. Yeucan saa tha-terms of this Contract for any edifitienal information abaut.noopayment, dafautt, say required repayment hefora the scheduled date, and

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Other:

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Down Payment. You also agree to pay or apply to tha Cash Priea, on or befers the date of
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10/5/2022
By: JULIO:M MONTORO Date
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Purchase ef Preperty: You egree to purchase ths Proparty from-Seller, subject to tha
terms and conditions of this Cantract. SeSer will not make any repairs or adefilens to the
Vahicla axcapt a3 noted In the Deseriztion of Property section.

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| returned or dishonored, you agsee'to pay e-service charge that ts the greater of 5%: sf tha

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fonds transfers), or: $25.00, if the fects value of the Instrument does not exceed $60.00;
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valua exceads $300.00

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Comtrest .

® Wamay relaase any security and you.willstll ba shfigated to pay. this Comtract.
° Uf wa give-up any of cur rights, It will nat affect your duty ta pay this Contract.

© if wa oxtend naw credit or renew this Contract, it will act affect your duty, to pay
this Cantrect.

Warranty. Werranty latarmatian is provided to you separately.

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dua immediately. This amount will caro finanes changes from the date paid at the tate
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Provision you ara giving up your right to go to court. for claims
and disputes arising fram this Contract:

© EITHER YOU OR WE MAY CHOOSE TO HAVE ANY DISPUTE
BETWEEN YOU AND US DECIDED BY ARBITRATION, AND
OT BY A COURT OR BY JURY TAIAL.

© YOU GIVE UP ANY RIGHT THAT YOU MAY HAVE TO
PARTICIPATE.AS A CLASS REPRESEATATIVE OR CLASS
MEMBER IN ANY CLASS ACTION OA CLASS ARBITRATION
AGAINST US IF A DISPUTE.IS ARBITFRATED. .

© 18 ARBITRATION, DISCOVERY AND RIGHTS TO APPEAL
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and its applicable rules, provided tt in willing anc‘ abte to handts tha arbitration:
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Arbitration Association, 1832: Broachway, Ror 10, New Yark, RY 10019
JAMS, 1920 Main Strest, Suite 300 Irvine, GA-82814 Nomnionatem atta
choose cay othas reputable erbitration organization and its ruias to the arbitration,

subject to the athsr party's approval. The parties cen get a copy of tha organization's rules
by contacting Ht cr visiting ts Webel, the chesen chosen erbitratien arganization’s rules conflict
th this Arbitration Provision, tha terms of this Arbitration Provisien will givarn the Cisim.

Vowever, ta adress a tafiet with tha slectd arta opanoatew's des, the parton
may agrea'ta change tha tarns of this Arbitration Provision by writtea amendment signed
by the parte. It hartge are ma ahie to find or egree upos an arbitration eryesioetia

Y that is willing and able to handle the arbitration, then tha arbitrator will.te solected

Pursuant to 6 U.S. Coda Sections & end @.

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The arbitration hearing will he eamfuctad in tha fedaral district whare.you reside ordess you
and wa ottierwize ‘egroe..O/, if you'and wa-egres, tha arbitration haaring ean be by
talsphane or other elgetroviie communication, Tha-arbitration filing tea, arbitrator's

n and other arbitration casts will ba‘peid in the emounts and by the partias
according to the rules of tha chasen erbitraticn osgariization, Séive arbitration organizations’
rules requice us to pay most or olf of these amounts. If the rues of tho arbitration
caganization do not specify how fees must bs afocated, we will pay the filing fea,
arbitrator's compensation, and cther exbltretion costs up to $5,000, untoss the low requires
us ta pay mare, Esch party is rasgansibte for the fees-cf'its own stromays, witnesses, and
‘any related costs, ifany, thet-it incurs to, prepare and presant-its Claim or response, In
limited circumstancas, tha artitretor'may have-tha mithority to award payment of certain
aeirion costs cr feas-to.@ party, bot enty if tha law and arbitration organization fules

ow tt,

An arbitrator must ba a lawyer with at teast-ten {10).years of experiance: and famifier with
censumar credit lew or @ retlred:state or faderal-court judge. Tha arbitration will ba by a
single arhitrator; ln making en-award; an arbitrator shall follow governing substantive law
and aty epplicabla statute of timitations: Tha erbitrater. will. dacida any dispute regarding

oangeeenry inca of.a Cisim. at arbitrator hes the authority to ordor spacific parformancs,
compensatory damages, punitive demagas, and. Jany ather ralief allowed by eppticabts tw,
An arbitratar’s -satharity toimeke awards Is Emited-toawards to you of us alane.iClaims
trong by you agin Us, bys against ys, myst ha joined or consolidated in
arbitration with claims brought by er against semeena ather'than ycu, untass agread to in
writing by:el garties..No ashitration award or dacision. will have any practusive offect as ta
issues or claims ‘ih any dispute with anyona.whe-is not 4 named party ta the. arbitration.
Any arbitration awerd.chall bain. writing, shalt inetude 8 written raasonad aition, and will
be final and binding subjact cnly'to eny right.to appoct under the Faderel Arbitration Act
(TFA), 2 US. Gode Sections 1; at 229, Any court:having jurisdiction can enfarce a Final
arbitration sward, Yeu end wa agran that this Arbitration Provision is governed by tha FAA
to the exclusion of eny cifferent.cy inconsistent state-ar faca! law.

You.or-we: x can Ho. tha folowing y witheut.giving op the right.to.require arbitration: saek -
remedies in smell claims court for Clalma-within tha smal! claims court's jurisdiction, or
seak junicial provisional remedies. If'a party dees not exarcise the right to elect arbitration
in cormsction with any particular Claim, ‘that party'stil can require arbitration in connection
with ani other Claim,
This Asbitratien Provizion survives any fj termination, payolf, assignment or transfer of this
my boy ) any legal:proceeding by you ar us to calféet'a-dabt cwad.by the ather, and {il
proceading in which you or wa.ere tha debtor. With but ona exception, if
any part of this Arbitration Provishon'ls deemed ot:found to by amanforceahl for enyreacon,
tha ramalndar of this. Astitration.Provision will remain in-full forca-ond affect. Tha one
exceptions that ff'a finding of partial: tinanfaresabilty ‘would atovy-arbitratinn to procacd
on a class-wida hesis, than‘this Arbitration Provision will ba uncatnrcaabla in its entirety.

PROCESS 30 REJECT THIS ARBITRATION PROVISION. You mey reconsidsr:snd rajact
your approve! cf this Arbitration Provision by sending a written natice to:tha Assignas
(identified in the Assignment section) or if there is no-Assignag, than to Seller, Tha notice
nest bs postriatked Within 30 days of. tha data you signed this Contract, It simaly needs to
stete yur dacisisn.to relest the Arbitration Provision in this Contract and'includa your
signature. It must also provide your nama, Sollgr's.sames end tha dato of this Contract.
Rejecting this-Arhitration Provision wil} NOT affect the tarms ondor which wo will
finguce and sell the Property to you or eny ather tarms of this Contract, except
that tha Arbitration Provision will not apply:

CAUTION: It is important that-you read this Arbitration Provision
tharaughly befare yau sign this Cantract. By signing this
Contract, you acknowledge that you read, undsrstand ond agree
to this: Arbitration Provision. If you da not uniicrstand'this
Arhitration Provisisn, do not.sign this Contrac:: instead ask yeur
lawyer. Hf you approve this Arbitration Provist:1, you have aw
additional 30 days aftar'signing to reconsidar nnd reject your
approval, as:deseribed above. If you use that process to reject,
this Arbitration Provision will not be.a part of this Contract, but
the rest of this Contract will stil! be birding and effective,

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Hote. [f thie primary uss of the Vekicte is mon-consumes, thts & eot.e consamer
contract, and the folowing natice dos notepply. MOTICE. ANY HOLDER
OF THIS CORSUMER CREDIT CONTRACT IS SUBJECT TD ALL
CLAIMS AND DEFENSES WHICH THE DEBTOR COULD ASSERT
AGAINST THE SELLER OF GOODS OR SERVICES OBTAINED
PURSUANT HERETO OR WITH THE PROCEEDS HEREGF.

| RECOVERY HEREUHDER BY THE DEBTOR SHALL HOT EXCEED

AMOUNTS PAID BY THE DEBTOR HEREUNDER.

| if you ara buying a used vehicle: The information you.sea on the

window form for this vehicle Is part of this contract. Information

| on the window form overrides any contrary provisions {n tha

contract of sale.

Si compra un vehiculs usado: La Infermacién que. va adkesida en la
ventanilla forma parte de éste cantrato. La infarmacién contenida
en al fermiulario de la ventanills prevelece por sobre toda otra
disposticién en contratio Incluida en el contrato de compraventa.

ard Weta

{This ssctign applies ONLY to a person who will have an owoorshin interest in the Property
but is. NOT a Buyer obligated ta pay this.Contract ("Third Perty Guener™).)

In this section caly, “you” maans only tho parsen'signing this sectien..

By signing below you agree to'giva us s security interest in tha Proparty described in the

~ Description of Property section: You alss-agres'to'tha tarins of this.C: that
you will cat bo flake far tha payments it raquites. Your taterest iv the Property may bo used
to satisfy tha Buysr’s chligation. You agres that we may renaw, extend of change this
Contract, of relsase.any party or Propesty-withaut releasing you ftom this Contract. Wa.
may taka thesa steps without notiée ér damend upge-yeu, ©

‘You acknowledge recsipt of a completed capy af this Contract,

N/A
By:
Signature of Third Party Gwner (NOT tho Buye?)

10/5/2022
Date

[This area intentionally isft bleak]:

AK me Pevsate

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Ven ag stelata ie agekZhy eGR TAT OM at oe

“This Contract ecntains an Aritretion Provision that affocte affects your rights By signing
‘this Costraet, yeu syrae that aither of us may request end taquire ihs other to roselvo
Cisgates.or claims through arbitration instead of'9 lawsuit. Tho Arhitration Provision
includes a process-you tan follow in tha next 30 days if you reconsider and want to reject
tha Arhitration Provision:

By nitialing this sactian,.yos confirm that you read, understand and agree to the
Arkitration Provisien in-this-Centract, netsding the process to rejoet it.

Buyer init

rae Tne Pras isla aProig: i

C) Electranto Signature Acknowledgment, You egrea oa that fay you viewnd and read this
entire. Contfact bafere signing it, (2) you signed this Contract with ane or mora olactrenic
signatyres, (1) yeu intend to enter into this Contrast and your elactronie-signature has tha
same effact as your written ink signature, {ivi-you received a pacer capy of this Contract
after it wes signed, end (v} the eutharitative éopy.of this Contract shall reside in a
document manegement-systeni held by'Sallar in tha crdinary.coursa ef businass: You
uxdarstand that Soller czy transfer this Contract to-anather company inthe alactronic form
at 93:8 paper version of thet slactronic form which vould then bucoma-tha authoritative
copy. Sellar er that other company may.erfarce this Contract in tha alectranic ferm or as a
papas version of thet dlectresis form. You may enforca:ttiz paper version of the Contract
Copy that you received.

NYSE Tet goes

The Annual. Percentage, Rate.may. v be negatia! ble with the.

Seller, Tha Seller may assign this Contract and retain its right

to receive a part of the Finance Charge.
RY feed dodgers 4
Eatira Agreement, Yous end aur entire’ agreament is contained in thls Contract. Thare
ara no omeritte agraaments regarding this Contract. Any changa’to-this Cantract must
ta tn wetting ad signed by you and us.
on
—Absuhae 10/5/2022
Date
_ 10/5/2022
Data
By: Date

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Notice to Buysr, a. a not sign this Contract before you reed It or if it cantuins‘eny blank
apaces, b. You ara entitled to an exect copy of the Contract yau'sign. Kasp Itto protect
your legal sights,

By signing balaw, yau agrea to tha termes:ef this Contract. You racaived acapy ofthis
Contract end hed a chenca to tead.and review it befere you signed it.

"Boyer

| tlale,

| Sofay The

10/8/2022
ULTO M MONTORO Data
10/5/2022
Data
By: Date
Salfer
ML Le 10/5/2022
| ay: The Gofineefion Motors Inc ‘Date
, kag Tis eet Say goon bd
Exete? Finance
PO Box 677 Wilmingto: i OH 45177 ,
| tho Assignea, phone. . This essignmont fs mada
_ urdar the terms ot a seperate agreament made between tha Salter ‘and'Assignas,

{J This Assign

10/8/2022 |
Date

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Collateral Management Services
9750 Goethe Road | Sacramento, CA 95827
www.dealertrack.com

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Lien and Title Information

Account Information

Account Number Financed Date 10/5/2022
Loan Number Perfected Date 10/24/2022
Branch Payoff Date

Borrower 1 JULIO M MONTORO Dealer ID 68656
Borrowor 2 ANA LOURDES QUEVEDO LEON Dealer 68656
Borrower Address 9917 W OKEECHOBEE RD APT 4212 Dealer Address

HIALEAH GARDENS, FI. 33016

Lienholder
ELT Lien ID 0232385249
Lienholder Exeter Finance LLC

Lienholder Address PO Box 677
Wilmington, OH 45177-9577

Lien Release Date 7130/2024

Vehicle and Titling Informatio:

VIN IN4BL4BV8LC220253 Issuance Date 10/20/2022
Title Number 0148388033 Received Date 10/24/2022
Title Stato FL ELT/Paper ELECTRONIC
Year 2020 Odometer Reading

Make NISS Branding

Model

Owner 1 JULIO M MONTORO

Owner 2 ANA LOURDES QUEVEDO LEON

Owner Address 9917 OKEECHOBEE RD # 4 212

HIALEAH GARDENS, FL 33016 0000

Printed: Thursday, August 1, 2024 12:16:45 PM PST

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA

In re:
Case No. 24-17583
Julio Manuel Montoro,
Debtor(s) Chapter 7

AFFIDAVIT OF INDEBTEDNESS IN SUPPORT OF EXETER FINANCE LLC’S
MOTION FOR RELIEF FROM STAY

Before me, the undersigned authority, personally appeared NANCY WAFER, who, being
duly sworn, deposes and says:

1. Iam NANCY WAFER. | am employed as a Bankruptcy Specialist by Exeter
Finance LLC (“Creditor”).

2. This affidavit is based upon Creditor’s loan payment records as of July 30, 2024.
These records are regularly maintained in the course of business of Creditor and it is the regular
practice of Creditor to make and maintain these records. These records reflect loan payments
that are noted in the records at the time of receipt by persons whose regular duties include
recording this information. I maintain these records for Creditor and regularly use and rely upon
them in the performance of my duties.

3. Debtor maintains a loan, account number XXXX9940, with Creditor. Creditor
holds a security interest in the following property:

2020 NISSAN ALTIMA, VIN 1IN4BL4BV8LC220253

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4. The payments on this loan account, due for 3/18/2024 through 7/18/2024, in the
amount of $487.52 each and $97.52 for a total of $2,437.60 have not been received by Creditor.

5. The payoff balance owed on this loan account is $21,367.68, as of July 30, 2024,
excluding attorney fees and costs.

6. Creditor does not have current verifiable proof of collision and comprehensive
insurance covering the vehicle.

7. The contract and proof of title attached to this motion as exhibits are true and
accurate copies of the original documents.

8. This concludes my affidavit.

Laon We ANCY WAFER

SWORN TO AND SUBSCRIBED TO before me under penalty of perjury as being true
and _correct based on the personal knowledge of Creditor’s books and business records this

day of _AAteg , Zeer . by NANCY WALGER, who is

personally known to me?
NOTARY PUBLIC:
Sign:

State of Texas at Large

My Commission Expires: | L O1 202 ff

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
IN RE;
Julio Manuel Montoro, Case no. 24-17583-LMI
Chapter 7
Debtor(s). /

ORDER GRANTING EXETER FINANCE LLC'S
MOTION FOR RELIEF FROM STAY

THIS CAUSE came before the Court on Exeter Finance LLC’s
Motion for Relief from Stay (DE xx). Movant is in possession of
the vehicle. The vehicle was repossessed on July 15, 2024, prior
to the filing of the bankruptcy case on July 27, 2024. Upon
consideration of the motion and the record, it is

ORDERED that:

1. The motion is granted and the stay imposed pursuant to
11 U.S.C. Section 362 is modified so as to allow Exeter to
repossess or replevy the 2020 NISSAN ALTIMA VIN:

1IN4BL4BV8LC220253, to sell the vehicle, and to apply the

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proceeds of the sale of the vehicle to the amount owed to
Exeter.

2. The stay is modified for the purpose of allowing Exeter
to obtain and sell the vehicle and to apply the proceeds of the
sale to the indebtedness owed to Exeter or to proceed in a Court
of competent jurisdiction for the sole purpose of seeking in rem
remedies. Exeter shall not seek nor obtain any in personam
judgment against the debtor(s).

3. Rule 4001(a) (3) of the Federal Rules of Bankruptcy
Procedure is not applicable and Exeter may immediately enforce

and implement this order granting relief from stay.

## #
Attorney Kouri is directed to mail a conformed copy of this
Order to all interested parties immediately upon receipt of this
Order and shall file a certificate of service with the Clerk of
the Court.

Submitted by:

GERARD M. KOURI, JR., P.A.

5311 King Arthur Ave, Davie, FL 33331
Tel (954) 862-1731; Fax (954) 862-1732
Email: gmkouripaecf@gmail.com
